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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

 United States of America                       Criminal No. 6:21-00043-01

 versus                                         Judge Robert R. Summerhays

 Chance Joseph Seneca (01)                      Magistrate Judge Carol B. Whitehurst

                       MINUTES OF TELEPHONE CONFERENCE

          The undersigned conducted a telephone status conference with the parties on

 May 27, 2021, beginning at 10:30 a.m. and ending at 10:45 a.m., to discuss the

 status of discovery and progression of the litigation. 1 Participating in the

 conference, along with the undersigned, were Robert Abendroth and Thomas

 Johnson, on behalf of the Government, and Dustin Talbot on behalf of Defendant.

          This case has been certified as complex, however counsel for both parties

 agreed that the matter is ready to be set for trial. After discussion, the trial of this

 matter was set on March 14, 2022. The pre-trial conference was set before the

 undersigned magistrate judge by telephone on February 28, 2022 at 10:00 a.m.

          The counsel for the government agreed that is would continue working with

 defense counsel to produce discovery in a readable format with a useful index.

          Thus done and signed in Lafayette, Louisiana this 27th day of May, 2021.




 1
     Statistical time: 15 mins.
